                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF TENNESSEE
                             AT KNOXVILLE

   AMERICAN RELIABLE INSURANCE COMPANY;               )
   UNITED NATIONAL INSURANCE COMPANY;                 )
   AMERICAN SECURITY INSURANCE COMPANY;               )
   AMERICAN BANKERS INSURANCE COMPANY OF              )
   FLORIDA; STANDARD GUARANTY INSURANCE               )
   COMPANY; FARMERS INSURANCE EXCHANGE; FIRE          )
   INSURANCE EXCHANGE; FOREMOST INSURANCE             )
   COMPANY GRAND RAPIDS, MICHIGAN; FOREMOST           )
   PROPERTY AND CASUALTY INSURANCE COMPANY;           )
   FOREMOST SIGNATURE INSURANCE COMPANY;              )
   ILLINOIS FARMERS INSURANCE COMPANY; MID-           )
   CENTURY INSURANCE COMPANY; TRUCK                   )
   INSURANCE EXCHANGE; and NAUTILUS                   )
   INSURANCE COMPANY;                                 )
                                                      )
                    Plaintiffs                        )
                                                      )
   v.                                                 )      No. 3:19-CV-00469
                                                      )
   UNITED STATES OF AMERICA,                          )
   the federal government,                            )
                                                      )
                    Defendant                         )
                                                      )


                                 NOTICE OF MANUAL FILING

        Plaintiffs, STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY, STATE

  FARM FIRE & CASUALTY COMPANY, STATE FARM INDEMNITY COMPANY, STATE

  FARM GUARANTY INSURANCE COMPANY, LEXINGTON INSURANCE COMPANY, AIG

  PROPERTY CASUALTY COMPANY, THE CINCINNATI INSURANCE COMPANY, THE

  CINCINNATI CASUALTY COMPANY, THE CINCINNATI INDEMNITY COMPANY,

  COUNTRY MUTUAL INSURANCE COMPANY, COUNTRY CASUALTY INSURANCE

  COMPANY, PHILADELPHIA INDEMNITY INSURANCE COMPANY, GRANITE STATE

  INSURANCE    COMPANY           and   ILLINOIS   NATIONAL    INSURANCE      COMPANY



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  (“Plaintiffs”), by and through counsel, hereby gives notice of the manual filing of Exhibit 1

  through 7 to the Complaint.

         Respectfully submitted, this 19th day of November 2019.




                                             KAY GRIFFIN PLLC

                                             /s/Matthew J. Evans
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